            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 1 of 10



                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

GOVERNMENT OF GUAM,                              §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §           Civ. Action No. 3:17-CV-00371
                                                 §
UNITED STATES OF AMERICA,                        §           Filed May 19, 2017
                                                 §
       Defendant.                                §

                                   AMENDED COMPLAINT

       Comes Now, the Government of Guam, as authorized and approved by Governor Eddie

Baza Calvo and brought by the Office of Attorney General Elizabeth Barrett-Anderson and outside

counsel, and files its Amended Complaint and complains as follows:

                                       INTRODUCTION

       1.      This is a civil action brought by the Government of Guam pursuant to the

Comprehensive Environmental Response, Compensation, and Liability Act of 1980, 42 U.S.C.

§ 9601-9675, as amended (“CERCLA”), against the United States of America, including but not

limited to the Department of Navy, for costs of removal and remedial action arising from or related

to the investigation, remediation and closure of the Ordot Landfill and relocation of the community

facility and business.

                                        JURISDICTION

       2.      Jurisdiction is proper in this Court under 28 U.S.C. § 1331 (civil action arising

under the laws of the United States) and 28 U.S.C. § 2201 (declaratory relief). Jurisdiction is also

proper in this Court under 42 U.S.C. §§ 9613(b) and 9613(g)(2).




                                           Page 1 of 10
                Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 2 of 10



                                                     VENUE

           3.      Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1), 1391(c)(2) and

1391(e)(1)(A) and 42 U.S.C. § 9613(b).

                                                    PARTIES

           4.      Plaintiff, Government of Guam (“Guam”), is a public entity existing under the

Guam Organic Act of 1950 and has the power to sue under 48 U.S.C. § 1421a.

           5.      Defendant United States of America includes, inter alia, the Departments of

Interior, Defense, Army, Navy, and Air Force. The Department of Navy (“Navy”)1 was previously

identified by the United States Environmental Protection Agency (“USEPA”) as a potentially

responsible party at the Ordot Landfill.2 Defendant Navy is an agency within the Executive Branch

of the federal government of the United States of America. Defendant Navy is a resident of

Connecticut with Naval Submarine Base New London located at Groton, Connecticut 06349.

Defendant Navy may be served via certified mail return receipt requested at the following three

addresses:

                   United States of America
                   Department of the Navy
                   General Litigation Division
                   Authorized Agent for Service of Legal Documents
                   875 N Randolph Street
                   Arlington, VA 22217




1
 Defendant Navy is the successor to the former Department of the Navy, a cabinet-level Executive Branch Department
until it was merged into the Department of Defense as a military department pursuant to the National Security Act of
1947, as amended in 1949.
2
    U.S. EPA Final Record of Decision, Ordot Landfill Superfund Site, September 1988.



                                                   Page 2 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 3 of 10



               United States of America
               Department of the Navy
               General Litigation Division
               Authorized Agent for Service of Legal Documents
               720 Kennon Street, SE
               Washington, DC 20374

               United States of America
               Department of the Navy
               General Litigation Division
               Authorized Agent for Service of Legal Documents
               1322 Patterson Ave., Suite 3000
               Washington Navy Yard, DC 20374-5066

The United States Attorney for the District of Connecticut may be served via certified mail return

receipt requested at:

               United States Department of Justice
               United State Attorney
               District of Connecticut
               Civil Process Clerk
               Connecticut Financial Center
               157 Church Street, Floor 25
               New Haven, CT 06510

The United States Department of Justice may be served via certified mail return receipt requested

at:

               United Stated Department of Justice
               United States Attorney General
               950 Pennsylvania Avenue, NW
               Washington, DC 20530

                                 FACTUAL BACKGROUND

       6.      On June 21, 1898, the United States captured the island of Guam. By the Treaty of

Paris, Spain ceded Guam to the United States, effective April 11, 1899. Defendant Navy

unilaterally governed and operated the island as the “USS Guam,” with the Naval Commandant

acting as the governor of Guam. Plaintiff Guam was established by the United States Congress

through enactment of the Guam Organic Act in 1950. The Guam Organic Act transferred federal



                                          Page 3 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 4 of 10



jurisdiction over Guam from Defendant Navy to the Department of the Interior. However, Guam

continued to be under the control of the federal government and Defendant Navy as an

instrumentality and having its governor appointed by the President of the United States. Indeed,

due to the extensive military presence and operations throughout Guam, a federal military security

clearance was required for anyone to visit Guam until the 1960s. Guam’s first popularly elected

governor took office in 1971.

       7.      Defendant Navy built and began using the Ordot Landfill before World War II for

the disposal of municipal and military waste. The Navy operated the landfill until the Japanese

military invaded and occupied Guam in December 1941. Japan used the landfill throughout its

occupation until United States military forces recaptured Guam in July 1944.

       8.      In November 1945, Congress passed “The Guam Meritorious Claims Act,”

authorizing the Secretary of the Navy to adjudicate and settle Guam’s reparation claims. On

January 8, 1947, the Secretary of the Navy appointed a three-member committee to evaluate

Defendant Navy’s handling of its reconstruction and rehabilitation responsibilities on Guam. The

committee found Defendant Navy’s settlement and payment system was ineffective and

recommended significant changes to the reparations process.

       9.      On September 8, 1951, the United States government signed the Treaty of San

Francisco with Japan, waiving all of Guam’s reparation claims, including those for property

damage across the island. The United States therefore is responsible for any removal and

remediation costs related to the Ordot Landfill attributable to the Japanese invasion and occupation

of Guam.

       10.     Upon the recapture of the island by the United States in July 1944, Defendant Navy

resumed operations at the Ordot Landfill and operated and controlled the site thereafter. Despite




                                           Page 4 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 5 of 10



the Guam Organic Act, Guam remained an instrumentality of the federal government from 1950

to 1970. During this time period, the Ordot Landfill was operated by the government of Guam

under a governor appointed by the President of the United States and under the oversight of the

United States military including Defendant Navy.

         11.      The United States arranged for, transported and disposed of municipal and military

waste at the Ordot Landfill from the time of the dump’s opening until the creation of Navy’s own

disposal area in the 1970s.3 The United States used the Ordot Landfill during significant military

campaigns, including but not limited to the Korean War (1949-1953) and the Vietnam Conflict

(1965-1973).              Significant       quantities       of     munitions         and      chemicals        (e.g.,

Dichlorodiphenyltrichloroethane – “DDT” – and Agent Orange) were stored on Guam for

extensive use during these campaigns, both on foreign soils as well as on Guam itself. Upon

information and belief, wastes and unused excess stores of these munitions and chemicals were

disposed of on Guam including but not limited to at the Ordot Landfill. Until the 1970s, at the

earliest, the Ordot Landfill was the only sited and operational dump on Guam. It continued to be

the only public sited dump on the island until its closure in 2011.

         12.      During its years of operation, the Ordot Landfill was unlined on its bottom and

uncapped at its top. The landfill absorbed rain and surface water and released it after it percolated

through the landfill and picked up contaminants. These contaminants discharged into the nearby

Lonfit River. The Lonfit River flows into the Pago River which discharges into the Pacific Ocean

at Pago Bay.




3
  At some point after its creation in the late 1940s, the United States Air Force began operating on Guam and opened
its own base. Upon information and belief, the Air Force arranged for, transported and disposed of municipal and
military waste at the Ordot Landfill from the time of the base’s opening until the creation of Air Force’s own disposal
area in the 1970s.



                                                   Page 5 of 10
          Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 6 of 10



       13.     The Ordot Landfill has a long history of operational and environmental problems

dating back to before World War II. USEPA added the Ordot Landfill to the National Priorities

List (“NPL”) in 1983. The NPL is USEPA’s list of sites given priority for the expenditure of funds

to respond to the release or threatened release of hazardous substances. In 1988, the USEPA issued

a Record of Decision which noted that Defendant Navy was a potentially responsible party

(“PRP”) for the environmental contamination at and emanating from the Ordot Landfill. Despite

such designation, USEPA recommended no action at the Ordot Landfill.

       14.     In 2002, the United States sued Guam solely under the Clean Water Act, asserting

that leachate was discharging from the Ordot Landfill into the Lonfit River and two of its

tributaries. In 2004, the United States District Court for the Territory of Guam approved a consent

decree under the Clean Water Act requiring Guam to close the Ordot Landfill and stop the

discharge of leachate. In 2011, operations at the Ordot Landfill ceased. Remediation and closure

work at the Ordot Landfill, which included capping the landfill, installing storm water management

ponds, leachate storage tanks and a sewer line, began in December 2013 and is still ongoing.

       15.     Guam expects costs of remediation at and related to the Ordot Landfill to exceed

approximately $160,000,000.

                                    CLAIMS FOR RELIEF

                            FIRST CAUSE OF ACTION
                 RECOVERY OF REMOVAL AND REMEDIATION COSTS
                       UNDER SECTION 107(A) OF CERCLA

       16.     Guam incorporates the allegations in all preceding paragraphs.

       17.     The Ordot Landfill is located on Guam. The Ordot Landfill is a facility within the

meaning of Section 101(9) of CERCLA, 42 U.S.C. § 9601(9).




                                           Page 6 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 7 of 10



       18.     The United States is a person within the meaning of Section 101(21) of CERCLA,

42 U.S.C. § 9601(21). The United States, including but not limited to Defendant Navy, is the

former owner and operator of the Ordot Landfill, and it also arranged for the disposal or treatment

of hazardous substances at the Ordot Landfill and transported hazardous substances for disposal

at the Ordot Landfill.

       19.     During the time the United States owned or operated the Ordot Landfill, and

possibly afterwards, the United States, including but not limited to Defendant Navy, disposed of,

and arranged for the disposal of, various types of hazardous substances and waste at the Ordot

Landfill, including but not limited to municipal waste, military, industrial and commercial

chemicals, PCB-contaminated oils from electrical transformers and munitions.

       20.     There have been releases, within the meaning of Section 101(22) of CERCLA, 42

U.S.C. § 9601(22), and threats of continuing releases, of hazardous substances, within the meaning

of Section 101(14) of CERCLA, 42 U.S.C. § 9601(14), into the environment at or from the Ordot

Landfill.

       21.     Guam has incurred and will continue to incur removal and remediation costs related

to the releases or threatened releases of hazardous substances at or from the Ordot Landfill.

       22.     Guam’s removal and remediation costs regarding the Site are not inconsistent with

the National Contingency Plan, 40 C.F.R. Part 300.

       23.     Under Section 107(a)(4)(A) of CERCLA, PRPs are liable for all costs of removal

and remedial action incurred by the United States Government or a State . . . not inconsistent with

the national contingency plan.” 42 U.S.C. § 9607(a)(4)(A). The terms United States and State are

defined specifically to include Guam. 42 U.S.C. § 9601(27).




                                           Page 7 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 8 of 10



        24.     Under CERCLA, each department or agency of the United States is subject to

liability under Section 107. 42 U.S.C. § 9620(a)(1). The United States, including but not limited

to Defendant Navy, is liable under Section 107(a)(2) because it owned or operated the Ordot

Landfill when hazardous substances were disposed of there. The United States, including but not

limited to Defendant Navy, also is liable because it arranged for the disposal of hazardous

substances at the Ordot Landfill and transported hazardous substances for disposal at the Ordot

Landfill.

        25.     Pursuant to Section 107(a) of CERCLA, 42 U.S.C. § 9607(a), the United States,

including but not limited to Defendant Navy, is liable to Guam for removal and remediation costs

incurred by Guam related to the Ordot Landfill, plus interest, in an amount to be proven at trial.

                      SECOND CAUSE OF ACTION
     DECLARATORY JUDGMENT OF LIABILITY FOR FUTURE RESPONSE COSTS
               PURSUANT TO SECTION 113(g)(2) OF CERCLA

        26.     Guam incorporates the allegations in all preceding paragraphs.

        27.     Guam will continue to incur removal and remediation costs associated with the

Ordot Landfill that are recoverable from the United States, including but not limited to Defendant

Navy, under CERCLA.

        28.     Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2), specifies that in any action

for recovery of costs under Section 107 of CERCLA, 42 U.S.C. § 9607, “the court shall enter a

declaratory judgment on liability for response costs . . . that will be binding on any subsequent

action or actions to recover further response costs . . . .”

        29.     Guam is entitled to entry of a declaratory judgment that the United States, including

but not limited to Defendant Navy, is liable for future removal and remediation costs incurred by

Guam in connection with the Ordot Landfill to the extent that such costs are incurred in a manner

not inconsistent with the National Contingency Plan.


                                             Page 8 of 10
            Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 9 of 10



                             THIRD CAUSE OF ACTION
                   CONTRIBUTION UNDER SECTION 113(f) OF CERCLA

       30.     Guam incorporates the allegations in all preceding paragraphs.

       31.     Pleading in the alternative, the United States, including but not limited to Defendant

Navy, is liable to Guam for contribution pursuant to Section 113(f) of CERCLA, 42 U.S.C. §

9613(f), for all costs in excess of Plaintiff’s fair and equitable share of costs that Plaintiff has

incurred and may incur for removal and/or remediation of the release and/or threatened release of

hazardous substances at or from the Ordot Landfill.

                                     PRAYER FOR RELIEF

WHEREFORE, Guam prays that this Court:

       32.     Enter a judgment in favor of Guam and against Defendant United States, including

but not limited to Defendant Navy, pursuant to Section 107(a) of CERCLA, 42 U.S.C. § 9607(a),

for removal and remediation costs incurred by Guam at or related to the Ordot Landfill, plus

interest, in an amount to be proven at trial.

       33.     Enter a declaratory judgment of liability in favor of Guam and against Defendant

United States, including but not limited to Defendant Navy, for future removal and remediation

costs pursuant to Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2) at or related to the Ordot

Landfill.

       34.     In the alternative, enter a judgment in favor of Guam and against Defendant United

States, including but not limited to Defendant Navy, for all costs in excess of Plaintiff’s fair and

equitable share of removal and remediation costs that Plaintiff has incurred and may incur at or

related to the Ordot Landfill.




                                            Page 9 of 10
         Case 1:17-cv-02487-KBJ Document 7 Filed 05/19/17 Page 10 of 10



       35.   Enter a judgment awarding Guam its costs incurred herein.

       36.   Enter a judgment for such other and further relief as the Court deems just and

equitable.

Dated: May 19, 2017                              Respectfully submitted,

                                                 By: /s/ Marisa A. Lorenzo _______________
   Elizabeth Barrett-Anderson                     Marisa A. Lorenzo (ct30190)
   ATTORNEY GENERAL OF GUAM                       KELLEY DRYE & WARREN LLP
   Kenneth D. Orcutt                              101 Park Avenue
   DEPUTY ATTORNEY GENERAL                        Telephone: (212) 808-7800
   Civil Litigation Division                      Facsimile: (212) 808-7897
   590 S. Marine Corps Drive                      New York, NY 10178
   Suite 706, ITC Building                        mlorenzo@kelleydrye.com
   Tamuning, Guam 96913
   Telephone: (671) 475-3324                      John D.S. Gilmour
   Facsimile: (671) 472-2493                      William J. Jackson
   korcutt@guamag.org                             Mark Donatiello
                                                  KELLEY DRYE / JACKSON GILMOUR
                                                  DOBBS
                                                  515 Post Oak Blvd., Suite 900
                                                  Houston, TX 77027
                                                  Telephone: (713) 355-5005
                                                  Facsimile: (713) 355-5001
                                                  jgilmour@kelleydrye.com
                                                  bjackson@kelleydrye.com
                                                  mdonatiello@kelleydrye.com




                                      Page 10 of 10
